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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

MARC POKEMPNER,                             )
                                            )
                              Plaintiff,    )      NO. 10-cv-8297
       -vs-                                 )
                                            )      JUDGE DARRAH
POLARIS IMAGES CORP. a New York             )
corporation, and DOE I through DOE V,       )      MAG. JUDGE KEYS
                                            )
                              Defendants.   )

    DEFENDANT POLARIS IMAGES CORPORATION’S MOTION REQUESTING
      LEAVE TO FILE AN AMENDED NOTICE OF MOTION FOR SUMMARY
      JUDGMENT AND TO RE-FILE ITS LOCAL RULE 56.1 STATEMENT OF
      UNDISPUTED FACTS AND DECLARATION OF MATTHEW A. KAPLAN

       Defendant Polaris Images Corporation (“Polaris”) respectfully requests leave to file an

Amended Notice of Motion for Summary Judgment and to re-file its Local Rule 56.1 Statement

of Undisputed Facts and Declaration of Matthew A. Kaplan.           In support thereof, Polaris

respectfully represents the following:

       1.      Last night, Polaris filed its Notice of Motion for Summary Judgment, Motion for

Summary Judgment and Memorandum of Law in support thereof, together with its Declaration

of Matthew A. Kaplan, Declaration of J.P. Pappis, and what it believed was its Local Rule 56.1

Statement of Undisputed Facts.

       2.      This morning, however, Defendant’s counsel learned that it had inadvertently

filed a copy of the Declaration of Matthew A. Kaplan instead of its Local Rule 56.1 Statement of

Undisputed Facts. As it now stands, Docket Entry 43, Attachment #3 bears the label “Local

Rule 56.1 Statement of Undisputed Facts”; however, when that document is downloaded, it is a

copy of the Declaration of Matthew A. Kaplan. Accordingly, in order to rectify counsel’s

inadvertent error and to ensure that Court’s Docket is accurate, Polaris respectfully requests



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leave to re-file its Local Rule 56.1 Statement of Undisputed Facts. A true and correct copy of

Polaris’ Local Rule 56.1 Statement of Undisputed Facts, dated March 1, 2012, is attached hereto

as Exhibit 1.

       3.       It has also come to our attention that Exhibit A to the Declaration of Matthew A.

Kaplan, a copy of Plaintiff’s December 30, 2010 Complaint (Docket Entry 1), was inadvertently

excluded from the filing.     A true and correct copy of the March 1, 2012 Declaration of

Matthew A. Kaplan, along with all of the intended exhibits, is attached hereto as Exhibit 2.

       4.       This morning, Defendant’s counsel contacted Melanie Foster of Your Honor’s

Chambers explaining the foregoing. During that phone call, Ms. Foster explained that Your

Honor’s Chambers are closed during the week of March 5, 2012; thus, the original return date of

Polaris’ Motion for Summary Judgment, March 7, 2012, would have to be changed. Because

neither the motion calendar published on the Northern District of Illinois’ website nor Your

Honor’s webpage reflected this change in schedule, Defendant’s counsel was unaware of the

conflict when it noticed its motion. Accordingly, Polaris respectfully requests leave to file an

Amended Notice of Motion setting a date during the week of March 12, 2012, when Your Honor

has returned. A true and correct copy of Polaris Image’s Proposed Amended Notice of Motion

for Summary Judgment is attached hereto as Exhibit 3.

       WHEREFORE, the Polaris Images prays for the entry of an order:

       1)       Granting leave to re-file its Local Rule 56.1 Statement of Undisputed Facts;

       2)       Granting leave to re-file its Declaration of Matthew A. Kaplan;

       3)       Granting leave to file an Amended Notice of Motion for Summary Judgment; and

       4)       For such other and further relief as the court deems reasonable.




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DATED: March 2, 2012

                                          POLARIS IMAGES CORPORATION


                                                 /s/ Matthew A. Kaplan
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